         Case 1:21-cr-00358-BAH Document 63 Filed 03/10/23 Page 1 of 1
         Case 1:21-cr-00358-BAH         Document 61       Filed 02/24/23     Page 1 of 22

             BERyL A. HowELL, cllmF UNITED sTATEs DlsTRICT ]uDGE
                             UNITFD STATHS DISTRICT COURT
                             FOR TIIE DlsTRICT OF cOLunneIA


   UNITED STATES OF AMERICA                          Docket No.: 00901:21CR00358-001

                     VS,                             Disclosure Date: February 24, 2023

              Adams, Howard


       PARTIES OBLIGATION AND RESPONSE T0 PRESENTENCE REPORT

Pursunnt to Fed. Rules of Crim. Proc. Rule 32(I)(1) and (2), the parties shall submit any material
inaccuracies or disputes to the presentence investigation report (PSR), by March 10, 2023. This
form and/or objections to the PSR shall be filed via CM/ECF.

Note: The probation office never includes information about 18 USC § 3553(e) or USSG § 5K1.1,
pursuant to Rule 32(c)(3).

                                       For the Government

(CIIECK APPROPRIATE B OX)
       ( )     There are no material/factual inaccuracies therein.

       ( )      There are material/factual inaccuracies in thepsR.

                                        For the Defendant

(CRECK APPROPRIATE BOX)
       ( )     There are no material/factual inaccuracies therein.
               There are material/factual inaccuracies in the PSR.


                 Restrictions on Use and Redisclosure of presentence Report

The presentence investigation report and this form are not public documents.

It is the policy of the federal judiciary and the Department of J.dstice that further redisclosure of
the presentence investigation report is prohibited without the co.risent of the sentencing j udge.
